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 1   Laurie Elizabeth Alderman, Pro Se,
     473 Maple Avenue
 2
     Cotati, CA 94931
 3   707-795-1540
     Lauriealderman@yahoo.com
 4
           UNITED STATES DISTRICT COURT NORTHERN DISTRICT OF CALIFORNIA
 5

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 8   Laurie Elizabeth Alderman,                         Case No.: 19-CV-05844-KAW
 9
                     Plaintiff,
10                                                      Motion for telephonic appearance on February
     vs.
11                                                      6, 2020.
     City of Cotati, et al,
12
                     Defendant
13

14
     I, Laurie Alderman, as the pro se plaintiff on this case, respectfully ask that the Court approve a
15

16
     request for a telephonic appearance if needed for the February 6th, 2020 at 1:30 p.m. motion to

17   dismiss/clarify/strike hearing.

18   I have multiple medical conditions and physical disabilities that fluctuate in their severity. The
19
     most impacting condition is cervical spinal stenosis, which can lead to temporary paralysis,
20
     especially of my hands and feet. If I have a flare-up of this condition, it would preclude me from
21

22
     traveling from Sonoma County to Oakland for the hearing with having to rely on public

23   transportation or others to travel to the Court.

24   Hopefully, I will be able to travel to the hearing and appear in person on the date of the hearing.
25
     However, I am asking the Court to grant the telephonic appearance. If I am able to appear in
26
     person, I shall inform the Court at least 48 hours before the date and time of the hearing.
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28                                                PAGE 1 OF 2
              Case 4:19-cv-05844-KAW Document 29 Filed 01/10/20 Page 2 of 3



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     Respectfully,
 3
                                                     /s/Laurie Alderman
 4
                                                     Laurie Alderman
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 6   Electronically signed by Laurie Alderman on December 23, 2019

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28                                          PAGE 2 OF 2
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                                   4                                       UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                       Laurie Elizabeth Alderman
                                   7                           ,                           Case No 19-cv-05844- KAW

                                   8                      Plaintiff,                       MODIFIED ORDER GRANTING
                                                                                           TELEPHONIC APPEARANCE
                                   9             v.

                                  10       City of Cotati, et al.
                                                                       ,
                                  11                     Defendant.

                                  12
Northern District of California
 United States District Court




                                  13   Plaintiff Laurie Alderman’s motion to appear telephonically at the defendant’s motion to
                                  14   dismiss/strike/clarify hearing on
                                  15          February 6, 2020 at 1:30 p.m. is GRANTED.
                                  16   The plaintiff, being in pro se, shall comply with the Court’s Standing Order on Procedures for
                                  17   Telephonic Appearances, available online at http://cand.uscourts.gov/kaworders. This
                                  18   includes personally arranging the telephonic appearance with CourtCall—a paid, private
                                  19   service—in advance of the hearing date. If Plaintiff decides to appear in person, Plaintiff shall
                                  20                                                                             S DISTRICT
                                       inform the courtroom deputy clerk prior to the hearing.                 TE           C
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                                                                                                                                     RT




                                              IT IS SO ORDERED.                                                    ERED
                                                                                                   UNIT




                                                                                        KANDIS A. WESTMORE    O ORD
                                  22          Date: January 9, 2020                                   IT IS S
                                                                                        United States Magistrate
                                                                                                                                           R NIA




                                                                                        Judge                     Westmo
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                                  23                                                                                    andis
                                                                                                             Judge K
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                                                                                                    RT




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